                   Case 1:24-mj-00355-MAU                   Document 1         Filed 11/06/24          Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                          )
                             v.                                     )
                  AUSTIN M. OLSON                                   )      Case No.
              DOB: xx/xx/xxxx PDID: xxx-xxx                         )
                                                                    )
                                                                    )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   November 5, 2024              in the county of                                in the
                       District of            Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
40 U.S.C. § 5104(e)(1)(A)(i)                     Unlawful activities (Carry on the Grounds or in any of the Capitol Buildings a
                                                 firearm, a dangerous weapon, explosives, or an incendiary device)




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                   SA James M. Soltes, U.S. Capitol Police
                                                                                                Printed name and title

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E\7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 

Date:             11/06/2024
                                                                                                  Judge’s signature

City and state:                           Washington, DC                                       U.S. Magistrate Judge
                                                                                                Printed name and title
